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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                                      CASE NO. 21-62204-CIV-DIMITROULEAS

  ROTHSCHILD BROADCAST DISTRIBUTION
  SYSTEMS. LLC,

         Plaintiff,

  vs.

  PARADISO SOLUTIONS, LLC,

        Defendant.
  ___________________________________/


                                     ORDER OF DISMISSAL

         THIS CAUSE is before the Court upon the Parties’ Joint Stipulation of Dismissal (the

  “Joint Stipulation”) [DE 23], filed herein on April 8, 2022. The Court has carefully reviewed the

  Joint Stipulation [DE 23] and is otherwise fully advised in the premises.


         Accordingly, it is ORDERED AND ADJUDGED as follows:

         1.      The Joint Stipulation [DE 23] is APPROVED;

         2.      All claims asserted by the Plaintiff in this Action are dismissed with prejudice and

                 all counterclaims asserted by the Defendant in this Action are dismissed without

                 prejudice under Fed. R. Civ. P. 41(a)(1)(A)(ii); and

         3.      The Clerk shall CLOSE this case and DENY AS MOOT any pending motions.

         DONE AND ORDERED in Chambers in Fort Lauderdale, Broward County, Florida, this

  8th day of April, 2022.
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  Copies to:
  Counsel of record
